      Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 1 of 74




                                 No. 23-15285

                                    IN THE
                 United States Court of Appeals
                      for the Ninth Circuit

               IN RE GOOGLE PLAY STORE ANTITRUST LITIGATION


                MARY CARR, INDIVIDUALLY AND ON BEHALF OF
                  ALL OTHERS SIMILARLY SITUATED; ET AL.,
                                                   Plaintiffs-Appellees,
                                       v.
                             GOOGLE LLC; ET AL.,
                                                        Defendants-Appellants.


         On Interlocutory Appeal from the United States District Court
                    for the Northern District of California,
                       No. 21-md-2981; No. 20-cv-5761

                BRIEF FOR DEFENDANTS-APPELLANTS
                           (REDACTED)

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      Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 2 of 74




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        Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 3 of 74




                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1(a), Defendants-

Appellants state as follows:

      Google LLC is a subsidiary of XXVI Holdings Inc., which is a subsidiary of

Alphabet Inc., a publicly traded company; no publicly traded company holds more

than 10% of Alphabet Inc.’s stock.

      Google Payment Corp. is a subsidiary of Google LLC. Google LLC is a

subsidiary of XXVI Holdings Inc., which is a subsidiary of Alphabet Inc., a publicly

traded company; no publicly traded company holds more than 10% of Alphabet

Inc.’s stock.

      Google Commerce Ltd. is an indirect subsidiary of Google LLC. Google LLC

is a subsidiary of XXVI Holdings Inc., which is a subsidiary of Alphabet Inc., a

publicly traded company; no publicly traded company owns more than 10% of

Alphabet Inc.’s stock.

      Google Ireland Limited is an indirect subsidiary of Google LLC. Google LLC

is a subsidiary of XXVI Holdings Inc., which is a subsidiary of Alphabet Inc., a

publicly traded company; no publicly traded company owns more than 10% of

Alphabet Inc.’s stock.

      Google Asia Pacific Pte. Ltd. is an indirect subsidiary of Google LLC. Google

LLC is a subsidiary of XXVI Holdings Inc., which is a subsidiary of Alphabet Inc.,



                                         i
        Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 4 of 74




a publicly traded company; no publicly traded company owns more than 10% of

Alphabet Inc.’s stock.



                                              /s/ Neal Kumar Katyal
                                              Neal Kumar Katyal




                                         ii
            Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 5 of 74




                                          TABLE OF CONTENTS

                                                                                                                       Page

CORPORATE DISCLOSURE STATEMENT ..........................................................i

TABLE OF AUTHORITIES ..................................................................................... v

JURISDICTIONAL STATEMENT .......................................................................... 1

INTRODUCTION ..................................................................................................... 2

ISSUES FOR REVIEW ............................................................................................. 6

RULE 23 .................................................................................................................... 6

STATEMENT OF THE CASE .................................................................................. 6

    A.        Google Play ................................................................................................ 6

    B.        Procedural History ...................................................................................... 9

SUMMARY OF ARGUMENT ............................................................................... 17

STANDARD OF REVIEW ..................................................................................... 22

ARGUMENT ........................................................................................................... 23

    I.        CLASS CERTIFICATION WAS IMPROPER BECAUSE
              THERE ARE INDIVIDUALIZED ISSUES OF INJURY
              FOR MILLIONS OF CLASS MEMBERS .............................................. 23

              A.        District Courts Must Rigorously Analyze Whether
                        There Are Uninjured Class Members Before
                        Certifying Rule 23(b)(3) Classes ................................................... 24

              B.        Google Presented Evidence That A Great Many Class
                        Members Are Uninjured, Requiring Individual
                        Inquiry ............................................................................................ 28

              C.        The District Court Failed To Conduct The Rigorous
                        Analysis Of Uninjured Class Members Required By
                        This Court’s Precedent ................................................................... 32



                                                             iii
           Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 6 of 74



                              TABLE OF CONTENTS—Continued

                                                                                                                   Page

             D.       This Court Should Reject Plaintiffs’ Attempts To
                      Rehabilitate The District Court’s Decision .................................... 36

    II.      THE DISTRICT COURT ERRED IN CONCLUDING
             THAT PLAINTIFFS’ MODEL ESTABLISHES COMMON
             PROOF OF INJURY AND DAMAGES ................................................. 38

             A.       Dr. Singer’s Model Fails To Account For Key
                      Independent Variables .................................................................... 39

             B.       The District Court Failed To Rigorously Analyze Dr.
                      Singer’s Model ............................................................................... 49

             C.       Dr. Singer’s Model Should Never Have Been
                      Admitted ......................................................................................... 52

    III.     THE DISTRICT COURT ERRED IN CONCLUDING
             THAT INDIVIDUALIZED DAMAGES ISSUES CANNOT
             DEFEAT PREDOMINANCE .................................................................. 55

CONCLUSION ........................................................................................................ 61

CERTIFICATE OF COMPLIANCE

CERTIFICATE OF SERVICE




                                                           iv
           Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 7 of 74




                                    TABLE OF AUTHORITIES

                                                                                                          Page(s)

CASES:

Amchem Prods., Inc. v. Windsor,
  521 U.S. 591 (1997) ............................................................................................ 24

Apple Inc. v. Pepper,
  139 S. Ct. 1514 (2019) ........................................................................................ 35

Bell Atl. Corp. v. AT&T Corp.,
   339 F.3d 294 (5th Cir. 2003) .............................................................................. 39

B.K. ex rel. Tinsley v. Snyder,
   922 F.3d 957 (9th Cir. 2019) .............................................................................. 36

Blackie v. Barrack,
   524 F.2d 891 (9th Cir. 1975) .............................................................................. 58

Blades v. Monsanto Co.,
   400 F.3d 562 (8th Cir. 2005) ........................................................................25, 39

Bowerman v. Field Asset Servs., Inc.,
  60 F.4th 459 (9th Cir. 2023) .........................................................................57, 59

Comcast Corp. v. Behrend,
  569 U.S. 27 (2013) ............................................................................21, 22, 23, 56

Daubert v. Merrell Dow Pharmaceuticals, Inc.,
  509 U.S. 579 (1993) ......................................................................................15, 16

Doyle v. Chrysler Grp., LLC,
  663 F. App’x 576 (9th Cir. 2016) ....................................................................... 57

Ellis v. Costco Wholesale Corp.,
   657 F.3d 970 (9th Cir. 2011) ........................................................................49, 51

Elosu v. Middlefork Ranch Inc.,
   26 F.4th 1017 (9th Cir. 2022) ............................................................................. 52




                                                         v
           Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 8 of 74



                           TABLE OF AUTHORITIES—Continued

                                                                                                           Page(s)

Gen. Elec. Co. v. Joiner,
  522 U.S. 136 (1997) ............................................................................................ 53

Gonzalez v. United States Immigr. & Customs Enf’t,
  975 F.3d 788 (9th Cir. 2020) .............................................................................. 22

Illinois Brick Co. v. Illinois,
    431 U.S. 720 (1977) ............................................................................................ 35

In re Apple iPhone Antitrust Litig.,
    No. 11-CV-6714-YGR, 2022 WL 1284104
    (N.D. Cal. Mar. 29, 2022) ............................................................................passim

In re Asacol Antitrust Litig.,
    907 F.3d 42 (1st Cir. 2018) ...........................................................................26, 27

In re Hydrogen Peroxide Antitrust Litig.,
    552 F.3d 305 (3d Cir. 2008) ............................................................................... 25

In re Lithium Ion Batteries Antitrust Litig.,
    No. 13-MD-2420 YGR, 2017 WL 1391491
    (N.D. Cal. Apr. 12, 2017) ................................................................................... 48

In re Lithium Ion Batteries Antitrust Litig.,
    No. 13-MD-2420 YGR, 2018 WL 1156797
    (N.D. Cal. Mar. 5, 2018) .........................................................................45, 48, 53

In re New Motor Vehicles Canadian Exp. Antitrust Litig.,
    522 F.3d 6 (1st Cir. 2008) .............................................................................39, 49

In re Processed Egg Prods. Antitrust Litig.,
    312 F.R.D. 124 (E.D. Pa. 2015).......................................................................... 44

In re Rail Freight Fuel Surcharge Antitrust Litig.,
    725 F.3d 244 (D.C. Cir. 2013) ................................................................25, 27, 28

Lambert v. Nutraceutical Corp.,
  870 F.3d 1170 (9th Cir. 2017) ............................................................................ 57



                                                          vi
          Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 9 of 74



                          TABLE OF AUTHORITIES—Continued

                                                                                                       Page(s)

Leyva v. Medline Indus. Inc.,
   716 F.3d 510 (9th Cir. 2013) ............................................................55, 56, 57, 58

Lust ex rel. Lust v. Merrell Dow Pharms., Inc.,
   89 F.3d 594 (9th Cir. 1996) ..........................................................................53, 55

Kohen v. Pac. Inv. Mgmt. Co.,
  571 F.3d 672 (7th Cir. 2009) .............................................................................. 26

Narouz v. Charter Commc’ns, LLC,
  591 F.3d 1261 (9th Cir. 2010) ............................................................................ 22

Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC,
   31 F.4th 651 (9th Cir. 2022) (en banc) ........................................................passim

Parko v. Shell Oil Co.,
  739 F.3d 1083 (7th Cir. 2014) ......................................................................39, 49

TransUnion LLC v. Ramirez,
   141 S. Ct. 2190 (2021) ..................................................................................24, 25

Tyson Foods, Inc. v. Bouaphakeo,
   577 U.S. 442 (2016) ................................................................................24, 39, 53

United States v. Hermanek,
  289 F.3d 1076 (9th Cir. 2002) ............................................................................ 53

United States v. Hinkson,
  585 F.3d 1247 (9th Cir. 2009) (en banc) ............................................................ 22

United States v. Ruvalcaba-Garcia,
  923 F.3d 1183 (9th Cir. 2019) ............................................................................ 55

Valentino v. Carter-Wallace, Inc.,
   97 F.3d 1227 (9th Cir. 1996) .............................................................................. 52

Van v. LLR, Inc.,
  61 F.4th 1053 (9th Cir. 2023) ......................................................................passim




                                                       vii
           Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 10 of 74



                             TABLE OF AUTHORITIES—Continued

                                                                                                                 Page(s)

Walker v. Life Ins. Co. of the Sw.,
  953 F.3d 624 (9th Cir. 2020) .............................................................................. 22

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  564 U.S. 338 (2011) ............................................................................................ 25

Yokoyama v. Midland Nat’l Life Ins. Co.,
   594 F.3d 1087 (9th Cir. 2010) ......................................................................57, 58

STATUTES:

15 U.S.C. § 26 ............................................................................................................ 1

28 U.S.C. § 1292(e) ................................................................................................... 2

28 U.S.C. § 1331 ........................................................................................................ 1

28 U.S.C. § 1337 ........................................................................................................ 1

28 U.S.C. § 1367 ........................................................................................................ 1

RULES:

Fed. R. Civ. P. 23(b) .................................................................................................. 6

Fed. R. Civ. P. 23(b)(3).....................................................................................passim

Fed. R. Civ. P. 23(f) ................................................................................................... 2

Fed. R. Evid. 702 .........................................................................................15, 52, 55

Fed. R. Evid. 702(b) ................................................................................................. 52

Fed. R. Evid. 702(c) ................................................................................................. 52

OTHER AUTHORITIES:

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  improvement/1072864 (last visited June 8, 2022)..........................................7, 44

1 McLaughlin on Class Actions § 5:45 (19th ed. 2022 update) .............................. 59


                                                            viii
          Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 11 of 74



                            TABLE OF AUTHORITIES—Continued

                                                                                                               Page(s)

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   garden/5428 (last visited June 8, 2022) ................................................................ 7

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  2009) .............................................................................................................11, 12




                                                            ix
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 12 of 74




                                      IN THE
              United States Court of Appeals
                   for the Ninth Circuit
                                  No. 23-15285


                IN RE GOOGLE PLAY STORE ANTITRUST LITIGATION


                 MARY CARR, INDIVIDUALLY AND ON BEHALF OF
                   ALL OTHERS SIMILARLY SITUATED; ET AL.,
                                                    Plaintiffs-Appellees,
                                        v.
                              GOOGLE LLC; ET AL.,
                                                         Defendants-Appellants.


  On Interlocutory Appeal from the United States District Court for the Northern
             District of California, No. 21-md-2981; No. 20-cv-5761

                 BRIEF FOR DEFENDANTS-APPELLANTS

                      JURISDICTIONAL STATEMENT

      The District Court has subject-matter jurisdiction over Plaintiffs’ federal

claims under 15 U.S.C. § 26 and 28 U.S.C. §§ 1331 and 1337, and supplemental

jurisdiction over Plaintiffs’ state-law claims under 28 U.S.C. § 1367. The District

Court granted class certification on November 28, 2022. 1-ER-29. This Court

granted Appellants’ timely petition for permission to appeal, filed on December 9,




                                        1
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 13 of 74




2022, under Federal Rule of Civil Procedure 23(f). 2-ER-33. This Court has

jurisdiction under 28 U.S.C. § 1292(e) and Federal Rule of Civil Procedure 23(f).

                                INTRODUCTION

      The District Court certified a massive class of 21 million consumers who

made purchases involving nearly 300,000 apps available through the Google Play

Store. The price for each purchase was set by the app’s developer, who paid Google

a service fee equal to a percentage of the price. Plaintiffs’ theory is that Google’s

service fee was supracompetitive and that had Google charged developers a lower

fee, the developers would have set lower prices for consumers and passed through

the savings from the lower service fee.       Injury, under this theory, turns on

individualized questions about each developer’s pricing strategies and competitors,

and the effect on each consumer. Plaintiffs’ simplistic injury and damages model

assumed away these individualized questions by skipping over them, as did the

District Court.

      Under Federal Rule of Civil Procedure 23(b)(3), these individualized

questions should have precluded class certification. Rule 23(b)(3) requires class-

action plaintiffs to prove that common issues will predominate over individualized

ones, and it requires courts to conduct a rigorous analysis of the evidence to ensure

that plaintiffs have proven predominance before a class is certified. The District

Court did not conduct that rigorous analysis, nor could it have certified a class had



                                         2
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 14 of 74




it done so. Indeed, the District Court’s certification order was the product of multiple

legal errors that are similar to—and more glaring than—errors this Court and the

Supreme Court have repeatedly corrected. For three reasons, this Court should

reverse.

      First, the District Court failed to engage with the magnitude of uninjured class

members in the 21-million-plus member class it certified. Plaintiffs must prove that

common questions about Article III standing will predominate over individualized

questions at trial before a class can be certified. See Olean Wholesale Grocery

Coop., Inc. v. Bumble Bee Foods LLC, 31 F.4th 651, 668 n.12 (9th Cir. 2022) (en

banc); Van v. LLR, Inc., 61 F.4th 1053, 1069 (9th Cir. 2023). Plaintiffs’ asserted

Article III injury here is that consumers overpaid for apps and related content.

Developers, not Google, set the prices for those products. Each consumer’s standing

therefore turns on whether the specific developers from which he or she made

purchases would, in fact, have charged lower prices for those purchases in a but-for

world where Google charged the developers lower service fees.

      Real-world data cuts against the notion that lowering service fees would have

led developers to reduce prices. When Google lowered service fees during the class

period, the overwhelming majority of developers did not lower their prices. If the

overwhelming majority of developers would not have lowered their prices in the but-

for world, the overwhelming majority of 21 million consumers in the class are



                                           3
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 15 of 74




uninjured. At a minimum, this real-world evidence shows that individualized mini-

trials are required to assess whether the developers of hundreds of thousands of apps

would have passed their cost savings from a lower service fee through to millions of

consumers, or kept it for themselves.         This process would be extravagantly

burdensome, yet the District Court did not attempt to explain how certification was

nonetheless appropriate.

      Second, even if the District Court had conducted the required rigorous

analysis, Plaintiffs failed to demonstrate that injury and damages could be

established through common proof. The District Court certified the class by relying

exclusively on a statistical model offered by Plaintiffs’ expert. But this kind of

model has never before been used to establish class-wide injury, and it rests on crude

assumptions that fail to account for obvious factors that would affect developers’

pricing and thus the extent of any consumer injury.

      The model’s accuracy depends on every app in each of 35 broad Google Play

categories being a substitute for every other app in the same category. But that is

self-evidently wrong. Elmo Loves 123s, Backgammon Pro, and the first-person-

shooter app Doom are all in the Games category but are plainly not substitutes; nor

are the smoking-cessation, insulin-tracking, and marathon-training apps in the

Health & Fitness category. The model further assumes that every developer would

have reduced its pricing in direct proportion to any lower Google service fee. But



                                          4
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 16 of 74




real-world data again shows that is untrue; almost all developers purposefully price

their apps to end in 99-cent increments and do not alter that focal-point pricing

regardless of whether Google’s fee is a few cents lower. They just keep the change.

      Even after Plaintiffs’ expert conceded that not all apps in each category are

substitutes and that focal-point pricing is an important real-world consideration, the

District Court failed to rigorously analyze these flaws in Plaintiffs’ model. It instead

certified a class based on a model that fails to account for these obvious and

important variables. That error is all the more glaring given that this Court has held

class certification improper where plaintiffs seek to rely on precisely this kind of

“unsupported assumption[].” Olean, 31 F.4th at 666 n.9.

      Third, the District Court acknowledged the existence of “individualized

questions” on “damages,” but held that the presence of such questions can never

defeat class certification in this Circuit. But Rule 23(b)(3) makes clear that common

questions must “predominate over any questions affecting only individual

members.” Fed. R. Civ. P. 23(b)(3) (emphasis added). That unambiguous language

precludes class certification where individualized damages issues would

predominate, as both the Supreme Court and this Court have held. The District

Court’s contrary conclusion was clear error and an independent ground for reversal.




                                           5
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 17 of 74




                             ISSUES FOR REVIEW

      1.    Must a district court conduct a rigorous analysis of the extent to which

the proposed class contains uninjured class members before it can certify the class?

      2.    Can a district court certify a class based on an injury model that does

not account for variables that yield individualized differences among class

members?

      3.    Must a district court actually analyze whether individualized issues

with respect to damages calculations predominate?

                                     RULE 23

      Federal Rule of Civil Procedure 23(b) provides, in pertinent part:

      A class action may be maintained if Rule 23(a) is satisfied and if: …
      (3) the court finds that the questions of law or fact common to class
      members predominate over any questions affecting only individual
      members ….

                         STATEMENT OF THE CASE

      A.    Google Play

      Google Play is Google’s Android app store, where developers offer apps and

consumers download them. There are over four million apps on Play, in 35

categories ranging from Health & Fitness to Games to Music. These categories “are

not based on any economic analysis or reasoning.” 2-ER-271; see 2-ER-296-297.

The categories instead organize apps for consumers, much like Walmart’s Home

Improvement department sells a wide variety of products ranging from ceiling fans


                                         6
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 18 of 74




to duct tape, while the Patio & Garden department sells products ranging from lawn

mowers to outdoor rugs to bird feeders.1 There are a wide variety of apps in each

Google Play category, and developers, not Google, choose the category in which

they want to offer each app. The Games category, for instance, includes everything

from the children’s game Daniel Tiger’s Grr-ific Feelings to the mature-rated Grand

Theft Auto: Vice City to Mahjong Treasure Quest to Scrabble. The Health & Fitness

category includes apps for sleep tracking, swimming, yoga, tinnitus therapy,

marathon training, insulin tracking, and smoking cessation.

      Roughly 90% of apps are completely free and can be played without spending

any money, but may display ads. See 2-ER-238; 2-ER-283-284. For the remaining

10%, developers make money in different ways. See 1-ER-10. Some developers

charge an initial download fee, whereas others sell subscriptions. Still others charge

for in-app purchases (IAPs), such as digital currency for use in a video game, or an

avatar or speed boost for your Roblox character. See 2-ER-238; 2-ER-253-254.

Consumers spend by far the most money on subscriptions and IAPs. 2-ER-253; 2-

ER-285. Many consumers spend a small amount of money on Google Play. During




1
    See Home Improvement, Walmart, https://www.walmart.com/cp/home-
improvement/1072864 (last visited June 8, 2022); Patio & Garden, Walmart,
https://www.walmart.com/cp/patio-garden/5428 (last visited June 8, 2022).

                                          7
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 19 of 74




the class period, roughly 40% of consumers made purchases from a single app. See

2-ER-260 tbl. 2.

      Consumers make payments for apps and IAPs to Google, which remits the

payment to developers minus a service fee. See 2-ER-256. The fee is a percentage

of the purchase price (and, again, the purchase price is set by the developer). See id.

Different developers pay different fees, which can differ based on the type of

content. See 2-ER-256-259. These fees enable Google to support billions of users,

protect against malware, and offer tools to developers. See 2-ER-211-213. The fees

also enable users to access services, such as parental controls. See id. Google

requires developers to use Play’s billing system, which protects consumer security

and allows for efficient fee collection. See 2-ER-211.

      Developers—and not Google—decide what each user pays for each app,

subscription, and IAP, and developers set their prices based on individualized

factors. See 2-ER-261. A key factor for many developers is focal-point pricing, the

strategy of setting prices ending in $.99. 2-ER-262. In approximately 97% of U.S.

consumers’ app transactions, the price ended in $.99. 2-ER-262-263 & fig. 7.

      Google lowered its service fees for certain developers three times between

2018 and 2021. 2-ER-268-269. In each instance, the vast majority of those

developers did not reduce prices for consumers. Id. For at least 87% of paid apps

and 98% of IAPs and subscriptions, developers kept their prices exactly the same



                                          8
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 20 of 74




despite paying a lower fee to Google. 2-ER-269. This means that in the real world,

almost no developers pass a lower service fee through to consumers in the form of

lower prices. Instead, developers pocket those savings. See, e.g., 4-ER-638-639



                        .

      B.     Procedural History

      The putative class complaint. A putative consumer class, putative developer

class, two individual developers, and a group of States sued Google, alleging

anticompetitive conduct related to the Play Store. The cases are proceeding as a

coordinated multi-district litigation.   See 3-ER-541.   Google and the putative

developer class—i.e., the entities that actually paid the service fee to Google—have

reached a proposed settlement that the District Court has preliminarily approved.

See Order, In re Google Play Developer Antitrust Litig., No. 20-cv-05792 (N.D. Cal.

Dec. 1, 2022), ECF No. 233. Consumer plaintiffs (“Plaintiffs”), appellees in this

appeal, requested certification of a class of over 21 million consumers who made

over a billion purchases involving 272,500 apps during the class period. See 1-ER-

5-6. They asserted, by relying on a “pass-through” theory, that the consumers in the

putative class were injured as follows: In a “but-for” world in which Google had

not engaged in the alleged anticompetitive conduct, Google would have charged

developers a lower percentage of the purchase price as a service fee, which would



                                          9
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 21 of 74




have resulted in developers charging lower prices to consumers for apps and app-

related purchases. 1-ER-5; 1-ER-18-19.

      Dr. Singer’s unprecedented       model.    At class certification, Plaintiffs

attempted to show that they could demonstrate injury through common proof, and

thus meet Rule 23’s predominance requirement. To make that showing, Plaintiffs

hired Dr. Hal Singer, who opined that all developers would have lowered their prices

if Google had lowered its service fees. See 3-ER-337. On that theory, he maintained

that every consumer in the class who purchased an app or related content—21

million in total—was injured.

      Dr. Singer’s analysis involves using three economic models. He uses two of

them to opine that Google would have charged a lower service fee in the but-for

world. Based on an adaptation of the Rochet-Tirole model, Dr. Singer calculated

that the “but-for” service fee Google would have charged developers for initial app

downloads is 23.4% (instead of approximately 30%). See 3-ER-310-327; 5-ER-721-

738; 2-ER-48-49; 2-ER-152. Based on an adaptation of the Landes-Posner model,

Dr. Singer calculated that the “but-for” service fee Google would have charged

developers for IAPs and subscriptions is 14.8% (instead of approximately 30%). See

3-ER-328-337; 5-ER-739-748; 2-ER-79-81; 2-ER-152; 3-ER-351; 5-ER-762.

      Neither of these models predicts whether developers would have actually

charged consumers lower prices if Google’s service fee had been lower. See 2-ER-



                                         10
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 22 of 74




152 (neither model “tell[s] you what the pass-through rate for any consumer or any

app is”). To analyze this pass-through of cost savings, Dr. Singer relied on a third

model, known as a “logit” model. No one has ever used a logit model to calculate

pass-through and show individual injury before. See 2-ER-274-275; 2-ER-175-177;

2-ER-90; 2-ER-94; 2-ER-96-97. Logit models are typically used to analyze the

effect that a merger will have on products in the same market. See 2-ER-99-101; 2-

ER-139; 2-ER-176-177. To be accurate, a logit model must analyze products that

are substitutes. That is because the premise of a logit model is that when the price

of one product changes, consumers will switch to a different product the consumer

views as a substitute, and will do so in proportion to each product’s share of the

market, independent of other considerations. See 2-ER-274 n.363; 2-ER-120-121;

2-ER-127. Indeed, both sides’ experts agreed that a logit model only works if all the

products in a category are “substitutes.” 2-ER-127; see 2-ER-274 n.363; 2-ER-120-

121; 2-ER-155; 2-ER-182.

      Dr. Singer’s use of a logit model therefore depended on showing that

consumers view every app within each of the 35 Play categories—such as Games or

Health & Fitness—as a substitute for every other app in that category. 2-ER-120-

121; accord, e.g., 2-ER-274-275; 2-ER-155; 1-ER-12 & n.5; see Kenneth E. Train,

Discrete Choice Methods with Simulation 42 (2d ed. 2009) (“The logit model

implies proportional substitution across alternatives.”) (cited at 2-ER-274). Logit



                                         11
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 23 of 74




models are inappropriate when products are not substitutes. See Train, supra, at 48

(“Proportionate substitution can be realistic for some situations, in which case the

logit model is appropriate” but in “many settings … imposing proportionate

substitution through the logit model can lead to unrealistic forecasts.”).

      To show that consumers in the proposed class were actually overcharged, Dr.

Singer proceeded as follows. First, he calculated each app’s share of its Play

category—for example, what percentage of consumer purchases in the Games

category are from the children’s Elmo Loves 123s app. Then, he subtracted that

percentage from 100%—referred to as a “one-minus share” calculation—and

declared that the resulting number reveals what percentage of a lower service fee the

developer would have passed through to consumers to avoid losing those purchases.

See 3-ER-341-342; 2-ER-227-228. Because every app’s share of a broad Play Store

category is inevitably small, practically speaking, Dr. Singer’s model predicts that

every single app developer would be economically compelled to pass on almost the

entire amount of any lower service fee to consumers. For example, the model

assumes that if the Elmo Loves 123s app failed to set lower prices in response to a

lower service fee, consumers would shift their purchases to Doom or Backgammon

Pro instead; it likewise assumes that if a smoking-cessation app chose not to set

lower prices based on a lower service fee, consumers would purchase a swimming




                                          12
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 24 of 74




app, tinnitus therapy app, or insulin-tracking app also found in the Health & Fitness

category instead.

      Applying this model, Dr. Singer claimed that “all or almost all class members”

are injured. 3-ER-337; 3-ER-350 (capitalization altered). Dr. Singer did not attempt

to explain what “almost all” meant, how to isolate the percentage of developers that

might not pass savings through to consumers, or what percentage of consumers are

uninjured. He simply concluded that his models and formulas “are common to the

Class.” 3-ER-350.

      Dr. Singer then combined the results of his three models to estimate an

aggregate damages calculation. His logit model calculated an average pass-through

rate of 89.9% across all Play Store categories, meaning that if Google had charged a

reduced service fee, developers assertedly would have passed through 89.9% of the

cost savings to consumers in the form of lower prices. 3-ER-342-343; 3-ER-318-

320; 5-ER-729-731. Dr. Singer used that average pass-through rate as an input for

his adapted Rochet-Tirole and Landes-Posner models when calculating what he says

is the but-for service fee. And by combining his but-for service fees and the pass-

through rate for each category, he calculated billions of dollars in consumer

damages. 3-ER-342-343; 3-ER-318-320; 5-ER-729-731; 2-ER-288.

      Dr. Burtis’s opinion. Google offered extensive testimony from its expert, Dr.

Burtis, in opposing class certification. Dr. Burtis examined data involving over



                                         13
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 25 of 74




465,000 discrete offerings in the Play Store for which Google charged developers a

reduced service fee during the class period. Contrary to Dr. Singer’s assumption, in

the real world, the overwhelming majority of developers did not lower prices for

consumers even when Google charged a lower service fee. 2-ER-268-270. Even

when the service fee was cut in half, these developers did not change their prices—

in conflict with Dr. Singer’s model, which predicted these developers would pass

through nearly 100% of any service-fee reduction. See 2-ER-271-273.

      Dr. Burtis highlighted several problems with Dr. Singer’s pass-through

model. First, she explained that Dr. Singer’s logit model is an “overly simplistic”

approach that ignores the numerous competitive conditions affecting app pricing and

therefore is “not appropriate for determining pass-through rates for apps.” 2-ER-

271; 2-ER-274. “One of the underlying assumptions of Dr. Singer’s demand model

and pass-through rates is that all products within a Google Play category are

substitutes.” 2-ER-275; see 2-ER-182. But as Dr. Burtis explained, “[t]here is no

economic basis for this assumption.” 2-ER-275. Google’s categories are expansive

and apps within them “vary widely.” 2-ER-266. For example, the Education

category includes over 400,000 apps—from foreign languages to plant care to star

gazing—whereas the Business category includes over 300,000—addressing

everything from mobile payment systems to creating PDFs to job searches. Id. And

because there is no factual basis to assume that all apps within a Play Store category



                                         14
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 26 of 74




are substitutes, any predictions about price reductions in these circumstances were

flawed and inaccurate. 2-ER-265-267; 2-ER-281.

      Dr. Burtis explained that Dr. Singer’s model also depends on the “unsupported

assumption[]” that developers will pass through nearly all cost savings to consumers

in proportion to a service fee reduction. 2-ER-271. In the real world, the vast

majority of developers and app transactions employ focal-point pricing by charging,

for example, $0.99 or $1.99. See 2-ER-278-279. Dr. Singer’s model offered no

factual basis to assume that every single developer would abandon such a proven

pricing strategy in American marketing in favor of a strategy that is less lucrative

for the developer and would look strange to consumers used to prices like $0.99 or

$1.99. See 2-ER-263. There was no basis to assume, for example, that a developer

who set the price for an app at $1.99 would reduce that price to $1.93 or $1.87 or

$1.72 or any other pennies-smaller number in response to a lower service fee.

      As a result of these flaws, Dr. Burtis explained that Dr. Singer’s model could

not reliably “show injury to all or nearly [all] consumers though common proof,

because Consumer Plaintiffs cannot establish through common proof that all

consumers would pay a lower price if service fee rates for developers were lower.”

2-ER-270.

      Google moves to exclude Dr. Singer’s model. Google moved to exclude Dr.

Singer’s model under Federal Rule of Evidence 702 and Daubert v. Merrell Dow



                                        15
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 27 of 74




Pharmaceuticals, Inc., 509 U.S. 579 (1993). 2-ER-194-197. Google explained that

the model relies on the unjustified assumption that all apps in each Play Store

category are substitutes. 2-ER-196. Google also explained that Dr. Singer’s model

is unreliable because it fails to account for focal-point pricing—which Dr. Singer

agreed was an “important consideration.” 2-ER-195 (quoting 2-ER-187).

      The District Court denied Google’s Daubert motion. It did not engage with

any of the problems Google identified, instead dismissing Google’s arguments about

competitive conditions and focal-point pricing as bearing only on the Rule 23

certification inquiry and not on the Daubert analysis. 1-ER-14. The court also

deemed it irrelevant that Dr. Singer’s pass-through model was not peer-reviewed

and was developed solely for this litigation. 1-ER-13. The court concluded that Dr.

Singer’s model was a reliable method of calculating pass-through because Google

had not proved otherwise—even though Plaintiffs bore the burden of proving

admissibility. 1-ER-14.

      The District Court grants certification.          Plaintiffs moved for class

certification, relying on Dr. Singer’s model to show common proof of injury and

damages. 3-ER-361-364.2 The District Court granted the motion. 1-ER-29. The


2
  At class certification, Plaintiffs proposed an alternative theory of injury based on
Google’s Play Points program. But not all consumers sign up for Play Points, and
those who sign up may not redeem points. See 2-ER-241-242. The District Court
did not rely on this theory in its certification order. 1-ER-24.


                                         16
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 28 of 74




court acknowledged that the class presented “individualized questions on impact and

damages.” 1-ER-28. Yet the court did not identify what those questions were. The

court instead put the burden on Google to show that there are a large number of

uninjured class members. 1-ER-23. As for Google’s real-world data demonstrating

that only a very small number of consumers could have been injured because almost

no developers reduced prices in response to service fee decreases, the court stated

that “Dr. Singer raised several serious questions about” some of this data, but

declined to engage with or resolve any of those questions, and did not address direct

testimony and other evidence from developers showing the same result. See id. The

court did not analyze whether individualized damages issues prevented certification;

instead, the District Court concluded that “it is well-established circuit law that

damages calculations alone cannot defeat certification.” 1-ER-25 (quotation marks

omitted).3

      The Court granted Google’s Rule 23(f) petition, and this appeal follows.

                          SUMMARY OF ARGUMENT

      I. The District Court failed to rigorously analyze whether the class contains

a large number of uninjured members, including failing to account for real-world

evidence that most developers did not pass cost savings from a reduced service fee


3
 The District Court certified Plaintiffs’ federal antitrust and parallel state-law claims
based on the same reasoning. See 1-ER-26-27. Google’s arguments on appeal
therefore apply to all claims.

                                           17
        Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 29 of 74




through to consumers in the form of lower prices. Absent developer price cuts to

consumers, however, members of the proposed class suffered no injury at all. Had

the court conducted the required analysis, it would have recognized that the

individualized inquiries needed to identify uninjured class members preclude

certification.

       District courts “must consider whether the possible presence of uninjured

class members means that the class definition is fatally overbroad.” Olean, 31 F.4th

at 699 n.14. This Court has reversed class certification where “an inquiry into …

circumstances and motivations” raises “the spectre of class-member-by-class-

member adjudication” to determine whether class members actually suffered injury.

Van, 61 F.4th at 1058, 1069. When presented with evidence of uninjured class

members, a district court must rigorously analyze “whether a class-member-by-

class-member assessment of the individualized issue” would be “prohibitively

cumbersome.” Id. at 1068-69 (quotation marks omitted).

       Here, Google presented evidence that orders-of-magnitude more consumers

suffered no injury from allegedly supracompetitive service charges.         Because

developers—and not Google—set the prices consumers pay, consumers can show

injury only if they can prove that developers would have passed lower costs through

to consumers had Google lowered its service charges. Google introduced data

involving over 465,000 discrete offerings in the Play Store for which Google



                                         18
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 30 of 74




reduced the service fee during the class period. The data showed that, at most, just

7% of developers lowered their prices—meaning that at least 93% did not. 2-ER-

268-269. And, for IAPs and subscriptions—which together formed more than 97%

of the affected offerings—“less than 2% of prices changed,” meaning that more than

98% of prices did not change. 2-ER-269. The data was corroborated by developers

who testified that service-fee reductions comparable to those proposed by Plaintiffs

would not have led them to reduce their prices. See infra pp. 30-31.

      The District Court’s analysis of this evidence—which constituted the only

real-world evidence of developer behavior in the record—was anything but rigorous.

It waved away this evidence based on supposed “serious questions” about the data,

1-ER-23, but it never identified any serious questions. Plaintiffs’ expert had raised

a question about a single one of more than 465,000 data points in the study, which

surely does not rise to the level of such a serious question that it merits ignoring the

other 464,999 data points. And even as to the issue with this single data point, the

District Court did not attempt to weigh the “conflicting expert testimony” and

resolve the “expert dispute[]” as Rule 23 requires. Olean, 31 F.4th at 666 (quotation

marks omitted).

      At the petition stage, Plaintiffs attempted to rehabilitate the District Court’s

analysis with a host of additional issues that they pressed below. Their arguments

are uniformly meritless, but they are also beside the point: It is the District Court’s



                                          19
         Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 31 of 74




responsibility to conduct a rigorous analysis, and this Court cannot affirm by

substituting its own views of the record.

      II.      The District Court also erred in accepting Plaintiffs’ entirely

unprecedented attempt to prove a pass-through injury using Dr. Singer’s logit model.

The model assumes that every developer would have passed through at least some

portion of reduced service fees to consumers without attempting to account for

multiple obvious reasons that they would not have done so.

      First, the model fails to satisfy an undisputed baseline requirement for a logit

model.      Dr. Singer agrees that, for a logit model to work, products must be

substitutes. That is because a logit model is built on the assumption that, as prices

increase, consumers will switch to another substitute product in the relevant market.

Here, however, it is undisputed that not all of the apps in the Play Store categories

are substitutes for one another.

      Second, Dr. Singer’s model fails to account for a pervasive pricing practice in

the Play Store: setting prices that end in $.99, known as focal-point pricing. The

overwhelming majority of transactions during the class period within the Play

Store—97%—exhibited focal-point pricing.          The savings associated with the

reduced service charges hypothesized by Dr. Singer would be a matter of cents for

most offerings in the Play Store. Under these circumstances, developers are unlikely

to abandon focal-point pricing so that they can pass a few cents of savings through



                                            20
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 32 of 74




to consumers. Dr. Singer admitted that his model contains no control for this

dominant practice. And his primary justification for refusing to account for it—that

developers might choose any price ending in a 9, rather than $.99—finds no support

in the data. Other district courts within this Circuit have rightly refused to certify

classes based on models that do not satisfactorily account for focal-point pricing.

See, e.g., In re Apple iPhone Antitrust Litig., No. 11-CV-6714-YGR, 2022 WL

1284104, at *8, *12, *14-17 (N.D. Cal. Mar. 29, 2022). The District Court here

should have done the same.

      At minimum, the District Court’s shallow discussion of these issues failed to

satisfy the requirement to rigorously analyze Plaintiffs’ proposed evidence of injury

and damages. Indeed, the flaws in Dr. Singer’s model are so significant that the

District Court should have excluded the model under Daubert.              Dr. Singer’s

methodology, developed specifically for this litigation, has never before been used

for this purpose. The court failed to perform its gatekeeping function.

      III. The District Court legally erred when it adopted a bright-line rule that the

presence of individualized damages issues “cannot, by itself, defeat class

certification.” 1-ER-25 (quotation marks omitted). Such a rule cannot be squared

with the text of Rule 23, the Supreme Court’s decision in Comcast Corp. v. Behrend,

569 U.S. 27 (2013), or this Court’s precedents.         The Court should take this

opportunity to clarify that there is no such bright-line rule, and that when—as here—



                                         21
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 33 of 74




“[q]uestions of individual damage calculations” would “inevitably overwhelm

questions common to the class,” a court should deny certification in accord with

Rule 23’s plain text. Comcast, 569 U.S. at 34.

                            STANDARD OF REVIEW

      This Court reviews class certification for abuse of discretion. Van, 61 F.4th

at 1062. The Court accords “no deference to the district court’s legal conclusions,”

which it reviews de novo. Walker v. Life Ins. Co. of the Sw., 953 F.3d 624, 629 (9th

Cir. 2020). An error of law, including the application of the wrong legal standard,

is a per se abuse of discretion. See Van, 61 F.4th at 1062; United States v. Hinkson,

585 F.3d 1247, 1259 (9th Cir. 2009) (en banc).

      A court’s determination regarding whether a statistical model is capable of

proving class-wide impact “is not a question of fact, even though there may be

disputed issues of fact.” Olean, 31 F.4th at 661. This Court reviews such mixed

questions of law and fact de novo. Gonzalez v. United States Immigr. & Customs

Enf’t, 975 F.3d 788, 802 (9th Cir. 2020). The Court reviews any genuine findings

of fact for clear error, Van, 61 F.4th at 1062, but “where the district court fails to

make sufficient findings to support its application of the Rule 23 criteria,” its

determination “is not entitled to the traditional deference given to such a

determination,” Narouz v. Charter Commc’ns, LLC, 591 F.3d 1261, 1266 (9th Cir.

2010) (quotation marks omitted).



                                         22
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 34 of 74




                                   ARGUMENT

      Class actions are a carefully crafted “exception to the usual rule that litigation

is conducted by and on behalf of the individual named parties only.” Comcast, 569

U.S. at 33 (quotation marks omitted). A party seeking certification under Rule

23(b)(3) “must affirmatively demonstrate his compliance” with Rule 23’s

requirements, id. (quotation marks omitted), including the requirement that

“questions of law or fact common to class members predominate,” Fed. R. Civ. P.

23(b)(3). The District Court in this case failed to conduct the rigorous analysis this

Court and the Supreme Court require, and it therefore failed to credit the

overwhelming evidence that individualized questions with respect to injury and

damages predominate. Each of these individualized issues would require class-

member-by-class-member adjudication for millions of plaintiffs and hundreds of

thousands of apps. This is exactly the sort of case that Congress designed Rule

23(b)(3) to preclude.

I.    CLASS CERTIFICATION WAS IMPROPER BECAUSE THERE ARE
      INDIVIDUALIZED ISSUES OF INJURY FOR MILLIONS OF CLASS
      MEMBERS.

      There are 21 million plaintiffs in the certified class, who conducted billions

of transactions on the Play Store. Before certifying a class, the District Court was

required to determine “whether the possible presence of uninjured class members”

means that Plaintiffs failed to meet Rule 23’s predominance requirement. Olean, 31



                                          23
        Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 35 of 74




F.4th at 669 n.14; see id. at 668 n.12 (citing TransUnion LLC v. Ramirez, 141 S. Ct.

2190, 2208 (2021)). But injury in this case is highly individualized, because it

requires each individual consumer to demonstrate that each individual developer

would have charged them less in the but-for world. See 1-ER-11. As Google’s

evidence demonstrated, most developers do not pass through lower service fees to

consumers—which means that the pass-through theory on which consumer injury

depends must be proven for each developer. Such individualized inquiries will

predominate over common questions. The District Court did not conduct a rigorous

analysis of this issue, and as a result it erroneously certified the class.

      A.     District Courts Must Rigorously Analyze Whether There Are
             Uninjured Class Members Before Certifying Rule 23(b)(3) Classes.

      The “predominance inquiry tests whether proposed classes are sufficiently

cohesive to warrant adjudication by representation.”           Amchem Prods., Inc. v.

Windsor, 521 U.S. 591, 623 (1997). The inquiry “asks whether the common,

aggregation-enabling, issues in the case are more prevalent or important than the

non-common, aggregation-defeating, individual issues.”            Tyson Foods, Inc. v.

Bouaphakeo, 577 U.S. 442, 453 (2016) (quotation marks omitted). Where there is

evidence that “individualized issues” would “bar recovery on at least some claims,”

then the district court must determine “whether individualized questions will




                                           24
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 36 of 74




overwhelm common ones and render class certification inappropriate under Rule

23(b).” Van, 61 F.4th at 1067 (cleaned up).

      “[T]he plaintiff bears the burden of proving that class issues predominate,” id.

at 1067 n.11, and the district court must conduct a “rigorous analysis” to determine

whether the plaintiff proved that common issues “in fact” predominate before

certifying a class, Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350-351 (2011)

(emphasis in original; quotation marks omitted). Plaintiffs “wishing to proceed

through a class action must actually prove—not simply plead—that their proposed

class satisfies” the predominance requirement. Olean, 31 F.4th at 664 (emphasis in

original; quotation marks omitted).

      Plaintiffs must prove at trial that “[e]very class member” has Article III

standing in order to recover damages. TransUnion, 141 S. Ct. at 2208. Each

plaintiff’s obligation to prove standing in turn requires district courts at class

certification to “consider whether the possible presence of uninjured class members

means that the class definition is fatally overbroad.” Olean, 31 F.4th at 669 n.14.

Certification is impermissible when “a great number of members” were not “harmed

by the defendant’s allegedly unlawful conduct.” Id. (quotation marks omitted).4


4
 The circuits are split on how uninjured class members affect certification. See
Olean, 31 F.4th at 692 (Lee, J., dissenting). Some hold that “all class members”
must establish injury, see In re Rail Freight Fuel Surcharge Antitrust Litig., 725 F.3d
244, 252 (D.C. Cir. 2013); accord In re Hydrogen Peroxide Antitrust Litig., 552 F.3d
305, 311 (3d Cir. 2008); Blades v. Monsanto Co., 400 F.3d 562, 571 (8th Cir. 2005),

                                          25
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 37 of 74




      Earlier this year, this Court vacated a class certification order where the

district court skipped over the required rigorous analysis of an individualized issue

after the defendant “invoked” the issue and “provided evidence” to support it. Van,

61 F.4th at 1068-69. In Van, the district court had certified a class of over 10,000

consumers who made approximately 72,000 purchases from a retailer that allegedly

collected unnecessary sales tax. Id. at 1059. In opposing class certification, the

retailer submitted evidence showing that, in “at least eighteen” transactions, the

salesperson had given the customer a discount to offset the erroneous tax

collection—thus showing those class members “lack a meritorious claim” of injury.

Id. at 1068 & n.13. The district court certified a class notwithstanding this evidence

of uninjured class members.

      This Court vacated for failure to conduct a sufficiently rigorous analysis. Id.

at 1069. Because the defendant had “invoked an individualized issue” and “provided

evidence that at least some class members lack[ed] meritorious claims because of

this issue,” class certification was inappropriate without addressing “whether a class-


while another holds that the presence of more than a “de minimis” number of
uninjured class members requires a “manageable” process to identify and remove
them, In re Asacol Antitrust Litig., 907 F.3d 42, 53-54 (1st Cir. 2018). And others
hold certification improper if “a great number” of uninjured members are present.
Olean, 31 F.4th at 669 n.14; see Kohen v. Pac. Inv. Mgmt. Co., 571 F.3d 672, 677-
678 (7th Cir. 2009). Google asserts that certification is improper if there are more
than a de minimis number of uninjured class members. But because Plaintiffs failed
to show injury for the majority of the class here, certification is improper under any
standard.

                                          26
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 38 of 74




member-by-class-member assessment of the individualized issue will be

unnecessary or workable.” Id. The evidence of a discount in 18 transactions

demonstrated that “an inquiry into the circumstances and motivations behind each

of the 13,680 discounts might be necessary,” potentially requiring “months of trial.”

Id.   Because that evidence summoned “the spectre of class-member-by-class-

member adjudication,” this Court held that “the district court clearly erred in its

assessment of whether the individualized issues generated by the retailer discounts”

defeated predominance. Id. at 1058, 1069. This Court remanded for the district

court to evaluate whether individualized inquiries would be “workable.” Id. at 1069.

      Van is consistent with other courts’ approaches. In In re Asacol Antitrust

Litigation, for example, the First Circuit reversed certification where the plaintiffs

alleged a generic drug should have entered the market earlier, lowering prices for

consumers, but the defendants cited evidence that certain consumers would have

paid the same amount even if the generic had done so. See 907 F.3d at 51-54. The

presence of these uninjured consumers raised an individualized inquiry and

predominance problem that foreclosed certification. Id. at 54-58; see Olean, 31

F.4th at 669 n.13 (citing this holding from Asacol). Likewise, in In re Rail Freight

Fuel Surcharge Antitrust Litigation, the D.C. Circuit rejected certification where the

plaintiffs alleged that shipping prices should have been lower for the class, and the

defendants cited evidence that thousands of class members were uninjured. 934 F.3d



                                         27
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 39 of 74




619, 623-624 (D.C. Cir. 2019). There was no way, “short of full-blown, individual

trials,” to “segregate the uninjured from the truly injured.” Id. at 625 (quotation

marks omitted).     And in In re Apple iPhone Antitrust Litigation—a closely

analogous case involving Apple’s app store—the district court denied class

certification, citing evidence that individual plaintiffs may be uninjured under

plaintiffs’ theory due to individualized issues with respect to app pricing. See 2022

WL 1284104, at *8, *16.

      As all of these cases demonstrate, where a defendant invokes an

individualized issue and provides evidence that some class members are uninjured

as a result, the district court must rigorously analyze whether this individualized

issue indicates a predominance problem. As described below, the District Court here

failed to conduct the required analysis.

      B.     Google Presented Evidence That A Great Many Class Members
             Are Uninjured, Requiring Individual Inquiry.

      There can be no dispute that Google invoked an individualized issue—the

presence of class members who were uninjured because the price a developer

charged for an app would not have been lower in the but-for world. Google also

presented evidence that this issue will require class-member-by-class-member

adjudication, because almost all developers would not have charged consumers less

if the service fee had been lower. Google’s evidence included real-world data, expert

testimony from Dr. Burtis, and direct testimony from three developers.


                                           28
        Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 40 of 74




      Dr. Burtis’s analysis was extensive. She reviewed data over the entire class

period to determine what happened in the real world when Google lowered its

service fees. That data included prices for over 465,000 discrete offerings in the

Play Store, which she referred to as “SKUs,” short for “stock-keeping units.” 2-ER-

268. The vast majority of these SKUs (more than 441,000) were IAPs; the remainder

included more than 16,000 subscriptions and 10,000 paid app downloads. See 2-

ER-270 tbl. 5.

      Remarkably, when Google lowered its service fees—from 30% to below

20%—there was “no change in price at all during the class period” for 93% of SKUs.

2-ER-268-269 & nn.193-194. Thus, “among these SKUs, at most 7% responded to

the service fee rate change in the actual world.” 2-ER-269. And even there, because

Dr. Burtis looked for any change in prices, this subset of 7% includes developers

who “increased rather than decreased” their prices after Google reduced its fee, as

well as developers who reduced their prices for reasons other than the decreased fee.

Id. In other words, Google’s fee reduction led to lower prices for less than 7% of

SKUs.

      After examining data during the entire class period, Dr. Burtis then examined

the period immediately before and after Google decreased its service fees. The

results were even starker. For IAPs and subscriptions—together more than 97% of

transactions—“less than 2% of prices changed after a service fee rate decline.” 2-



                                         29
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 41 of 74




ER-269; see 2-ER-270 tbl. 5. For paid app downloads, only 13% of prices changed.

See 2-ER-269; 2-ER-270 tbl. 5. In other words, when Google decreased its service

fees, almost no developers changed the price of IAPs or subscriptions, and only a

small number changed app prices.

      Google also deposed three developers who were plaintiffs in the separate

developer class action about their pricing decisions. Google asked whether these

developers would have decreased their products’ prices had Google reduced its

service fees in the but-for world. These developers confirmed that if Google had

reduced its service fees, they would not have passed cost savings through to

consumers. See, e.g., 4-ER-638-639




                       ; 4-ER-620



                     ; 4-ER-606



                                             .

      Google also asked these developers what happened in the real world when

Google reduced its service fees to rates comparable to the but-for rate proposed by

Plaintiffs’ expert. Again, developers confirmed that they did not pass cost savings



                                        30
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 42 of 74




through to consumers. See 4-ER-623



                             ; 4-ER-607



                                               .

      Thus, the large dataset analyzed by Dr. Burtis, as corroborated by direct

evidence from app developers, demonstrated that when Google decreases its service

fees, most app developers do not pass the service-fee reduction through to

consumers. To put it more simply, Dr. Burtis’s testimony and the testimony of

developers plainly established that there are significant numbers of uninjured class

members.

      The evidence of uninjured plaintiffs that Google presented in this case is

orders of magnitude more substantial than in Van. In Van, there was evidence that

at least 18 discounts were provided to class members that negated those consumers’

injury. Here, at least 93% of transactions involved potentially uninjured plaintiffs.

And while Van involved a putative class of just over 10,000 consumers and 72,000

purchases from the defendant, this case involves over 21 million consumers and over

a billion purchases from 270,000 discrete apps—raising the prospect that the parties

would have to engage in class-member-by-class member and app-by-app proofs at




                                          31
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 43 of 74




trial “to identify which apps, subscriptions, and IAPs prices would have been lower

and which consumers would have paid lower prices in a but-for world.” 2-ER-269.

      C.     The District Court Failed To Conduct The Rigorous Analysis Of
             Uninjured Class Members Required By This Court’s Precedent.

      Given the significant evidence of uninjured class members, the District Court

was required to conduct a rigorous analysis to determine whether the presence of

uninjured plaintiffs in the class prevented certification. It did not do so. Instead, it

concluded that “Google has not shown” that the class “would be so overinclusive

that substantial numbers of uninjured people would populate it.” 1-ER-23 (emphasis

added). And, although the court noted that Dr. Singer had raised questions about

some of Google’s evidence, it conducted no analysis to answer those questions—nor

did it evaluate other evidence (including direct testimony by developers)

substantiating Google’s argument that the putative class includes uninjured

plaintiffs. Id. The District Court’s many errors require reversal.

      First, the District Court discounted Google’s evidence of real-world data

showing developers reduced prices on less than 2% of SKUs in response to three

service-fee reductions. The court’s entire analysis consisted of saying this evidence

was “of minimal value,” because Dr. Singer questioned whether some of the 465,000

SKUs were different listings for the same products. Id. The court did nothing to

evaluate any question Dr. Singer raised; it simply reasoned that because of Dr.




                                          32
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 44 of 74




Singer’s questions, “Dr. Burtis’s 2% conclusion is [not] enough to deny

certification.” Id.

      No analysis could have justified ignoring Dr. Burtis’s data. Dr. Singer

identified exactly one app where there were two different SKUs for the same

subscription. See 2-ER-111-112. For that subscription, some people continued

purchasing one SKU at a higher price, whereas others began purchasing the other

SKU at a lower price. See 2-ER-115. Neither Plaintiffs nor the District Court

offered any reason to suppose that this lone subscription example—out of over

460,000 SKUs in the dataset, including over 440,000 non-subscription IAPs—

altered in any way Dr. Burtis’s 2% conclusion. Dr. Singer’s example merely

highlighted the individualized nature of the inquiry.

      The predominance analysis required the District Court to “weigh” the

“conflicting expert testimony” and resolv[e]” the dispute over the evidence. Olean,

31 F.4th at 666 (quotation marks and alterations omitted). But the District Court

entirely failed to do so. The court did not consider whether Dr. Singer’s sole

example of a subscription with multiple SKUs was representative or an outlier. The

court did not address whether or why this sole example could be extrapolated to

other subscriptions, let alone other paid apps or IAPs. The court did not explain how

a lone example could conceivably outweigh Dr. Burtis’s data, which was the only

empirical evidence addressing whether app developers in fact pass decreased service



                                         33
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 45 of 74




fees through to consumers. And the court did not even mention the testimony from

developers confirming what the data show—that developers did not lower their

prices when Google lowered its services fees.

      Second, the District Court claimed that a class could be certified because this

case was “not unlike a price-fixing case,” where Google allegedly “inflated the

‘headline rate’ that was used as the basis for all developers’ negotiations with

Google” and which “affected all of the prices set by the developers and paid by

consumers to Google.” 1-ER-23. But that assertion assumes the answer to the key

question for analyzing consumer injury: Does the “headline” rate set by Google in

fact affect the prices paid by consumers? The record evidence demonstrates that the

answer is no. As Dr. Burtis showed, when Google charged developers a lower

service fee, developers did not reduce consumer prices. Testimony from developers

confirmed this conclusion.

      The District Court was thus wrong to analogize to a price-fixing case. 1-ER-

24. Unlike a price-fixing case, the question of how developers set prices for

consumers must be answered to determine whether any consumer in fact suffered

injury. Indeed, the District Court recognized at the class certification hearing that

this case involves a “more complicated” and “more dynamic” inquiry than a price-

fixing case—which is why the District Court should have rigorously analyzed the

issue of uninjured class members, rather than analogizing to price-fixing precedent.



                                         34
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 46 of 74




See 2-ER-39; cf. Illinois Brick Co. v. Illinois, 431 U.S. 720, 741-744 (1977)

(recognizing the “difficulties and uncertainties” of determining how an overcharge

will be passed through and criticizing economic models with “drastic

simplifications”).

      Third, the District Court asserted that calculating pass-through rates would

impose “no barrier to certification” because consumers are “direct purchasers” from

the Play Store under the Supreme Court’s decision in Apple Inc. v. Pepper, 139 S.

Ct. 1514 (2019). 1-ER-19. This is a red herring. Even if consumers are “direct

purchasers” under Pepper, they must show that individual consumers suffered an

Article III injury. Plaintiffs allege that in the but-for world, app developers would

have passed lower costs through to consumers.           Plaintiffs thus must show

passthrough to establish Article III standing—a point Plaintiffs do not dispute. The

District Court missed this crucial point.

      Fourth, the District Court compounded these errors by misallocating the

burden of proof at class certification, concluding that “Google has not shown” that

the possibility of “substantial numbers of uninjured” class members was “a concern

here.” 1-ER-23. But it was not Google’s burden to prove that uninjured members

made up a “substantial” percentage of the class. In Van, the Court reaffirmed the

longstanding rule that “[i]t is the plaintiff’s burden to prove that class issues

predominate,” not the other way around. 61 F.4th at 1066. While plaintiffs need



                                            35
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 47 of 74




not proactively “rebut every individualized issue that could possibly be raised,”

where a defendant has “invoke[d]” specific “individualized issues” and “provide[d]

sufficient evidence that the individualized issues bar recovery,” the burden returns

to the plaintiff to prove that “class issues predominate.” Id. at 1066-67 & n.11. Here,

much like in Van, Google provided data undermining Plaintiffs’ case, corroborated

by real-world direct evidence. Given this evidence, the District Court was obligated

to determine whether Plaintiffs had proved that they could nevertheless establish

injury on a class-wide basis—not duck the question by shifting the burden to Google.

      D.     This Court Should Reject Plaintiffs’ Attempts To Rehabilitate The
             District Court’s Decision.

      At the petition stage, Plaintiffs barely attempted to defend the District Court’s

reasoning. Instead, Plaintiffs advanced arguments that the District Court neither

cited nor adopted. See Answer in Opposition at 19-22, In re Google Play Store

Antitrust Litig., No. 22-80140 (9th Cir. Dec. 19, 2022) (“Answer in Opp.”). These

arguments underscore the District Court’s failure to conduct the necessary rigorous

analysis. Plaintiffs’ briefing to this Court cannot stand in for the District Court’s

obligations under Rule 23. See B.K. ex rel. Tinsley v. Snyder, 922 F.3d 957, 977 n.6

(9th Cir. 2019) (refusing to uphold certification on an “alternative … theory

presented by the plaintiffs” because “doing so would substitute the district court’s




                                          36
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 48 of 74




role in certifying the class” and circumvent the “rigorous analysis” requirement

(quotation marks omitted)).

      In any event, Plaintiffs’ efforts to attack Google’s evidence are uniformly

unpersuasive. Plaintiffs object to the “time frames” involved in Dr. Burtis’s study,

claiming that a month is too short a period to see a price change. Answer in Opp.

20. But Dr. Burtis also analyzed whether service fees changed during the entire class

period—not just a one-month window. See 2-ER-268-269. That is how she

determined that 93% of prices did not change at all within the entire class period,

despite Google’s multiple service-fee reductions. Id.

      In contrast, Plaintiffs offer zero evidence that developers lowered prices for

consumers in response to decreased service fees. Instead, Plaintiffs speculate that

prices did not change in Dr. Burtis’s study because they “are sticky.” 2-ER-107.

But that argument boomerangs. If prices are sticky, it means that app developers

are not passing on cost decreases to consumers—and that consumers are thus

uninjured. As Plaintiffs’ own expert put it: “[W]hy would you expect a developer

to go back and revisit its pricing” where a service-fee reduction “touched such a

small percentage of the app developer’s revenues at issue?” 2-ER-108. The app

developers’ testimony confirmed that point.

      Plaintiffs also contend that prices did not decrease in some cases in response

to lower service fees because Google for a time “provided no mechanism for



                                         37
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 49 of 74




developers to lower their prices.” Answer in Opp. 20. But, as Plaintiffs do not

dispute, this issue at most affected a subset of subscriptions offered through the Play

Store. See 2-ER-104-105. Subscriptions constituted only 3.6% of the SKUs in Dr.

Burtis’s study. There is no dispute as to the other 96.4% of SKUs that app

developers could have lowered their prices for apps and IAPs in response to lower

service fees—yet they largely chose not to. See 2-ER-270 tbl. 5; 2-ER-105.

      In short, Google presented powerful evidence that most class members are

uninjured, while Plaintiffs failed to meet their burden to demonstrate that common

issues predominate. This Court should reverse class certification.

II.   THE DISTRICT COURT ERRED IN CONCLUDING THAT
      PLAINTIFFS’ MODEL ESTABLISHES COMMON PROOF OF
      INJURY AND DAMAGES.

      The District Court’s class certification ruling erred in a second fundamental

respect. Plaintiffs’ assertion that they can show injury through common proof relies

on the model proposed by their expert, Dr. Singer. But Dr. Singer’s model is unfit

for that purpose. His model assumes that every developer would have passed lower

service fees through to consumers, without accounting for obvious reasons why

developers would not have done so—including competitive conditions and focal-

point pricing. Had the District Court conducted the rigorous analysis of Dr. Singer’s

model that Rule 23 required, the court would have concluded that this model cannot




                                          38
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 50 of 74




serve as common proof of injury. Indeed, the model is so unsound that it should

never have been admitted in the first place under Daubert.

      A.     Dr. Singer’s Model Fails To Account For Key Independent
             Variables.

      A model can show injury through common proof only where “each class

member could have relied on [the model] to establish liability if he or she had

brought an individual action.” Tyson Foods, 577 U.S. at 455. By contrast, a model

cannot supply that proof where it is “inadequate to prove an element of the claim for

the entire class,” relies on “unsupported assumptions” or “erroneous inputs,” or

demonstrates “nonsensical results.” Olean, 31 F.4th at 666 n.9, 683 (collecting

cases). An injury model is likewise deficient if it does not account for “independent

or explanatory variables” that could affect price, “including product characteristics,

input costs, customer type, and variables related to consumer preference and

demand.” Id. at 671, 683.5 Although Plaintiffs’ model need not establish that each




5
  Courts regularly reject certification requests on this basis. See Parko v. Shell Oil
Co., 739 F.3d 1083, 1086 (7th Cir. 2014) (certification unwarranted where plaintiffs
assumed every class member experienced same diminution in property value based
on experiencing same level of contamination); In re New Motor Vehicles Canadian
Exp. Antitrust Litig., 522 F.3d 6, 29 (1st Cir. 2008) (certification unwarranted where
“[t]oo many factors play into” “the final price paid”); Blades, 400 F.3d at 572
(certification unwarranted where plaintiffs’ evidence of injury “would vary
according to individualized market conditions”); Bell Atl. Corp. v. AT&T Corp., 339
F.3d 294, 307 (5th Cir. 2003) (certification unwarranted “where the formula by
which the parties propose to calculate individual damages is clearly inadequate”).

                                         39
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 51 of 74




class member will prevail, the district court must ensure that the model is capable of

resolving these questions on a class-wide basis. See id. at 666-667.

      Dr. Singer’s model fails this test many times over. The model uses a formula

that works as follows: Developers list their app in one of 35 broad categories in the

Play Store, such as Games or Health & Fitness. See 1-ER-12 & n.5. Dr. Singer

calculates each app’s share of that overall category. He then subtracts the app’s

share from 100%, and declares the resulting percent (which he says is above 99%

for almost all apps, see 2-ER-272) to be how much of the savings the developer will

pass through to consumers rather than keep. See 2-ER-227-229. Thus, Dr. Singer

assumes that a game with 0.2% of the Games category share will pass through to

consumers 99.8% of any savings from a lower service fee, that a running app with a

0.5% share of the Health & Fitness category will pass through 99.5%, and so on.

And Dr. Singer assumes that if Google changes its service fee, a developer will

always change its prices in perfect proportion to the app’s share of its category.

      The model is so simplistic that it has never before been used by anyone—

including Dr. Singer himself—to calculate consumer injury. See 2-ER-175-177. For

good reason: It is completely artificial. The model fails to isolate and control for

independent variables that determine whether an individual developer would have

charged less—and thus whether an individual consumer would have paid less—

absent the alleged anticompetitive conduct. Allowing Plaintiffs to proceed to trial



                                         40
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 52 of 74




as a class based on a model that does not and cannot show injury to individual

consumers gives Plaintiffs a free pass to avoid the proof they would otherwise be

required to present in an individual action, which is precisely what Rule 23 is

designed to protect against.

      Dr. Singer admitted that his model fails to account for two variables that

would affect whether developers would pass lower service fees through to

consumers.

      First, Dr. Singer’s model does not account for the competitive conditions of

each individual app, which naturally affect how developers set prices. Dr. Singer’s

model relies on the assumption that every app in each of the 35 Play Store categories

is a substitute for all of the other apps in that category. That assumption undergirds

Dr. Singer’s conclusions about consumer injury:        Because competition affects

developers’ pricing decisions, if Dr. Singer makes an incorrect assumption about

who a developer’s competitors are, then his model naturally will be wrong about

how that developer will set prices. See 2-ER-275.

      The inaccuracy of Dr. Singer’s assumption is obvious. The evidence (not to

mention common sense) shows that not all apps in the same category are substitutes.

Swimming apps are not substitutes for smoking-cessation apps in the Health &

Fitness category. If the price of IAPs in the toddler-oriented Elmo Loves 123s game

decreased, consumers would not flock to it instead of playing the adult first-person-



                                         41
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 53 of 74




shooter game Doom—much less in proportion to either app’s share of the Games

category. But that is what Dr. Singer’s model assumes. See 2-ER-120-121; 2-ER-

274.

       Dr. Singer agreed that it is inaccurate to assume that apps within the same

category compete and conceded that not every app in each category “is a good

substitute necessarily” for every other app. 2-ER-156. He further conceded that

even for apps that are substitutes, they are “[n]ot [substitutes] in perfect proportion”

to their category-share. 2-ER-155. And he admitted that his model does not

“determine which apps in each category are complements and which are substitutes.”

2-ER-183. Nor did he use any real-world data about competition, substitution,

prices, or service fees to create his model. The only “real-world” input he used was

an app’s share of a given Play Store category. See 2-ER-224-225. As Dr. Burtis

explained, because the categories do not meet the substitutability requirement, “the

pass-through rates are wrong because the formula depends on the categories.” 2-

ER-275.

       Before the District Court, Dr. Singer defended his model on the ground that a

logit model is a “standard economic calculation[]” and “standard … formula.” 2-

ER-294. Even setting aside Dr. Singer’s own admission that no one has ever used a

logit model to calculate pass-through and show individual injury in an antitrust case,

2-ER-175-177, the problem is Dr. Singer’s logit model, not logit models in general.



                                          42
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 54 of 74




The requirement that products be substitutes is a well-known limitation of the logit

model. See 2-ER-182; 2-ER-127-128; 2-ER-155. Once Dr. Singer chose to use a

logit model and the broad Play Store categories, he was required to ensure that each

app in a given category was in fact a substitute. See 2-ER-127-130; 2-ER-155; 2-

ER-182. He failed to take that necessary step.6 The thousands of apps in each one

of Google’s 35 broad categories are not all substitutes, which is why a logit model

based on these categories is unreliable.

      Dr. Singer maintained that it made “economic sense” to use the broad Play

categories because “they reflect economically reasonable groupings of consumer

tastes for different varieties of Apps.” 2-ER-296. But neither Plaintiffs nor the

District Court ever explained what that meant, let alone how it could justify using

the broad Play Store categories for apps that are not substitutes. As even Dr. Singer

admitted, Google created these categories for other purposes, including to “help

users to search for and discover” apps, 2-ER-296-297 (quotation marks omitted),

much as Walmart sells both ceiling fans and duct tape in its Home Improvement




6
  Dr. Singer claimed that his model could also be applied to subcategories within the
Games category, which is one of the 35 Play Store categories. 2-ER-299 & n.155.
That does not solve this fundamental problem with respect to the 34 other categories,
nor does it solve the problem as to Games. The Action subcategory, for example,
includes both Super Mario Run and Mario Kart Tour (rated E for “Everyone”) and
Grand Theft Auto and Hitman Sniper (rated M for “Mature 17+”).


                                           43
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 55 of 74




category.7 That does not mean all products in a particular category are substitutes

or that using a product’s share of the category would dictate how prices for that

product would be set. The share of ceiling-fan sales as compared to duct-tape sales

says very little about how prices for either are chosen. By assuming otherwise, Dr.

Singer’s model relies on the type of “unsupported assumptions” that this Court has

said would preclude certification. Olean, 31 F.4th at 666 n.9; see also In re

Processed Egg Prods. Antitrust Litig., 312 F.R.D. 124, 161 (E.D. Pa. 2015)

(common issues do not predominate because “pricing at the retail level is far more

individualized and complex” than Plaintiffs’ expert’s “single-pass-through model

acknowledges and can accommodate”).

      Second, Dr. Singer’s model fails to account for focal-point pricing, which is

the practice of setting prices that end in 99-cent increments. The overwhelming

majority of Play Store transactions during the class period used focal-point pricing.

2-ER-262-263 & fig. 7. Because focal-point pricing is so predominant, developers

are unlikely to deviate from that pricing strategy even if Google’s service fees were

some pennies less. 2-ER-263. Yet Dr. Singer’s pass-through model admittedly fails

to account for this consideration. 2-ER-190-191. That too renders his model

insufficient to support class certification.



7
 See Home Improvement, Walmart, https://www.walmart.com/cp/home-
improvement/1072864 (last visited June 8, 2022).

                                           44
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 56 of 74




      Focal-point pricing is, as Dr. Singer admits, “a well-established concept in

economics.” 2-ER-230-231. It follows from evidence that consumers find prices

ending in $.99 “significantly more attractive” than the nearest whole-number price.

2-ER-262; see In re Lithium Ion Batteries Antitrust Litig., No. 13-MD-2420 YGR,

2018 WL 1156797, at *4 (N.D. Cal. Mar. 5, 2018) (noting “evidence in the literature

that retailers use focal points or price points” and that doing so can “increase

consumer demand”). Once sellers adopt focal-point pricing, they are unlikely to

deviate from it, even if it means absorbing small cost changes rather than passing

those changes through to consumers. See 2-ER-252; 2-ER-264. Sellers may

therefore absorb increases in cost without changing prices—just as they may pocket

decreases in cost without changing prices. See id.; In re Lithium Ion Batteries, 2018

WL 1156797, at *4. Focal-point pricing can maximize profits even if it means

retaining, rather than passing through, potential savings to consumers. 2-ER-263.

      Real-world data confirms that developers nearly always set prices ending in

$.99. Approximately 97% of U.S. consumers’ Play Store transactions for apps,

subscriptions, and IAPs had prices ending in $.99—nearly 4.3 billion in total. See

2-ER-262-263; 2-ER-281. Developers who rely on this pricing strategy may not

pass through savings from a service fee reduction, if doing so requires departing

from a focal-point price. 2-ER-263; 2-ER-281.




                                         45
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 57 of 74




      As Dr. Singer conceded, his model does not account for this marketplace

reality and does not “have a separate control variable for focal point [pricing].” 2-

ER-190-191. Instead, Dr. Singer’s model relies on the assumption that the nearly

80,000 developers who use focal-point pricing in the real world would—for the sake

of passing through a few cents of savings—abandon the pricing strategy they believe

increases demand and maximizes profits. See 2-ER-278. Dr. Singer thus assumes

that in the but-for world, every developer would change its prices and pass on cost

savings. 3-ER-354-355 tbls. 13 & 14.

      Dr. Singer utterly fails to justify this implausible assumption. His opening

report did not mention focal-point pricing once. After Google’s expert highlighted

this oversight, 2-ER-278; 2-ER-282, Dr. Singer was forced to acknowledge that

“focal point pricing is an important consideration here” as it can explain

“developers’ pricing in the actual world.” 2-ER-187. He could not justify omitting

that concededly important consideration from his model.

      Dr. Singer pointed out that 130 million transactions in the Play Store did not

end in $.99. 2-ER-290. But the data show that 4.3 billion transactions—97% of the

total—did end in $.99. See 2-ER-262-263. Dr. Singer dismissed this data as failing

to prove that developers would “feel compelled to charge prices ending only in ‘99’

in the but-for world.” 2-ER-290 (emphasis added). But that misses the point of Rule

23. The question is not whether every developer would have used focal-point



                                         46
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 58 of 74




pricing; the question is whether individualized inquiry is required to determine

whether any given developer would have used that pricing strategy.

      Dr. Singer suggested that developers used focal-point pricing because Google

initially required developers “to charge at least 99 cents” for apps and subscriptions.

2-ER-290-291. At most, that could account for apps priced at exactly $0.99 during

the period in which Google set a 99-cent threshold. But only 17% of transactions

involved purchases of $0.99. 2-ER-263 fig. 7. In contrast, 80% of transactions—

about 3.5 billion in total—were priced higher than $0.99, yet still used a price point

that ended in $.99 (such as $1.99, $2.99, or $9.99). See id. And Dr. Singer’s report

demonstrates that even when developers steered customers to other payment

processors that did not set a 99-cent threshold, they still overwhelmingly used prices

ending in $.99. 3-ER-346 tbl. 9. Dr. Singer provided no reason to assume that all

developers would abandon this pricing strategy if Google reduced its service fee.

      Dr. Singer asserted that “[n]othing would prevent” developers in the but-for

world from adopting a less strict version of focal-point pricing, such as prices ending

in 5 cents or 9 cents, rather than 99 cents (e.g., $2.75 or $2.79 instead of $2.99). 2-

ER-291-292.     This assertion ignores the data, which shows that developers

overwhelmingly select price points that end in $.99. And even if Dr. Singer were

correct that some developers in the but-for world would use different focal-point

pricing strategies, that would require even more individual inquiries to determine



                                          47
        Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 59 of 74




what kind of focal-point pricing each developer would have adopted and whether

that developer would have passed cost savings through to consumers. See 2-ER-

262.

       District courts in this Circuit have refused to certify classes in pass-through

cases much like this one where an expert’s model failed to account for focal-point

pricing. In In re Lithium Ion Batteries, the court held plaintiffs could not show

classwide proof of injury where they relied on a model that failed to account for

focal-point pricing. 2018 WL 1156797, at *4. Because plaintiffs’ expert failed to

explain the effect of focal-point pricing on plaintiffs’ “ability to demonstrate pass-

through, and to quantify it for purposes of damages,” the court held that “antitrust

injury to the class [could not] be determined on a common basis as to the putative

class.” Id. at *5; accord In re Lithium Ion Batteries Antitrust Litig., No. 13-MD-

2420 YGR, 2017 WL 1391491, at *12 (N.D. Cal. Apr. 12, 2017) (same). In re Apple

likewise declined to certify a class where “overwhelming [real-world] evidence,”

including evidence from the Google Play Store, suggested “that developers would

choose to price their apps at focal points ending in 99 cents,” and the plaintiffs’

model “fail[ed] to incorporate such pricing.” 2022 WL 1284104, at *8. In light of

that deficiency, the model did “not provide a reliable method for determining but-

for pricing in the presence of focal pricing” and was incapable of showing “common

proof of antitrust injury.” Id. at *8, *12. The same is true here.



                                          48
        Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 60 of 74




       B.     The District Court Failed To Rigorously Analyze Dr. Singer’s
              Model.

       The District Court failed to perform the requisite rigorous assessment to

ensure that Dr. Singer’s model was capable of supporting class certification. Olean,

31 F.4th at 664, 666. At minimum, the District Court was required to thoroughly

consider all the evidence, address the relevant arguments, acknowledge the

limitations of Dr. Singer’s model, and identify rational grounds to excuse those

shortcomings. See id. at 675-676; Parko, 739 F.3d at 1086 (court must evaluate “the

realism of the plaintiffs’ injury and damage model in light of the defendants’

counterarguments” prior to certifying class); Ellis v. Costco Wholesale Corp., 657

F.3d 970, 982 (9th Cir. 2011) (rigorous analysis requires evaluating and explaining

“persuasiveness of the evidence presented”).       That analysis should have been

especially “searching” here, In re New Motor Vehicles, 522 F.3d at 25-26, given that

Dr. Singer’s model has never been used before to show pass-through injury in an

antitrust case.

       The District Court did none of this. Instead, it excused the model’s flaws

whole-ticket.     The court acknowledged Google’s arguments about competitive

conditions and focal-point pricing, and agreed that “individualized issues” were

present here. See 1-ER-22. Yet the court deemed it irrelevant for Rule 23 purposes

that Dr. Singer’s model did not attempt to control for these independent variables.

Id. That is not a “rigorous” analysis. That is the epitome of permitting a plaintiff to

                                          49
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 61 of 74




“simply plead” rather than “actually prove” that a model is capable of establishing

antitrust impact on a class-wide basis. Olean, 31 F.4th at 664, 666 (quotation marks

omitted).

      The District Court declared it “unclear” why it mattered for class certification

that Dr. Singer’s model lumps together apps that “are not necessarily substitutes.”

1-ER-21. But Google had directly explained why that mattered in its papers and at

the two hearings on these issues: The accuracy of a logit model depends on the

“underlying assumption” that all goods within a given category are substitutes. 2-

ER-127 (“a fundamental requirement of that logit model is that all of the products in

that share have to be substitutes”); see, e.g., 2-ER-274-275. Even Dr. Singer agreed

that substitutability is a requirement. See, e.g., 2-ER-120-121; 2-ER-155; 2-ER-274-

275. And Dr. Singer admitted that the categories he chose to create his logit model

do not satisfy that requirement. See, e.g., 2-ER-155-156; 2-ER-183.

      The District Court did not dispute any of this. Instead, it excused Dr. Singer’s

choice to use the Play Store categories, reasoning that “Dr. Singer can only work

with what Google actually does.” 1-ER-21 (quoting 2-ER-128). But Dr. Singer was

retained to create a model tailored to this case. He chose a logit model, which

required him to use groupings of comparable products that fulfilled the fundamental

requirements of that model. See 2-ER-129-130; 2-ER-277 (“the formula depends

critically on finding the ‘right categories’”). If Dr. Singer could not do so, he could



                                          50
          Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 62 of 74




not use a logit model. A class cannot be certified on the basis of an unreliable model

simply because the plaintiffs’ expert lacked an easy way to make it reliable.

      The District Court posited that Dr. Singer’s model could withstand scrutiny

because plaintiffs’ expert in In re Apple relied on the Apple App Store’s categories

to model similar questions. 1-ER-21. But the District Court omitted two key facts.

First, the expert in In re Apple did not use a logit model and therefore did not assume

that all apps in each category were substitutes. Second, the district court in In re

Apple concluded that the expert’s model was insufficient to support class

certification because it failed to account for key independent variables, including

focal-point pricing. See 2022 WL 1284104, at *8, *10, *16. At a minimum, the

District Court was required to explain why Dr. Singer’s model was sufficient to

support class certification, whereas the model in the In re Apple litigation was not.

See Olean, 31 F.4th at 675-676; Ellis, 657 F.3d at 982 (rigorous analysis requires

“judging the persuasiveness of the evidence presented”). The District Court never

did so.

      The District Court excused Dr. Singer’s failure to account for focal-point

pricing because “predominance does not demand perfection,” and “[t]he salient

point is that the same methodology can be used by every class member to establish

antitrust impact.” 1-ER-22-23. But that’s just it—Dr. Singer’s model cannot be

used to establish antitrust impact because of focal-point pricing. Google argued, and



                                           51
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 63 of 74




the evidence showed, that a developer’s individual decision whether and how to

employ focal-point pricing will affect whether the developer passes lower service

fees through to consumers, which in turn affects whether a consumer is injured.

Even Dr. Singer admitted he would “need to account for” this in his “overall opinions

about what the but-for world would look like.” 2-ER-190-191. Yet the District

Court waved this concern away without acknowledging any of this data, any of Dr.

Singer’s statements, or the fact that other district courts declined to certify a class

based on a model that suffered this exact flaw. That “brief and conclusory” analysis

was deficient and cannot support certification. Valentino v. Carter-Wallace, Inc.,

97 F.3d 1227, 1234 (9th Cir. 1996).

      C.     Dr. Singer’s Model Should Never Have Been Admitted.

      Dr. Singer’s model is so flawed that it should never have been admitted.

Under Federal Rule of Evidence 702, expert testimony is admissible only if it is

rooted in “sufficient facts or data” and “the product of reliable principles and

methods.” Fed. R. Evid. 702(b)-(c). “To evaluate reliability, the district court must

assess the expert’s reasoning or methodology, using as appropriate criteria such as

testability, publication in peer-reviewed literature, known or potential error rate, and

general acceptance.” Elosu v. Middlefork Ranch Inc., 26 F.4th 1017, 1024 (9th Cir.

2022) (quotation marks omitted). Where those “guarantees of reliability are not

satisfied,” especially for models developed in “the litigation context,” an expert must



                                          52
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 64 of 74




“point to some objective source” to show that his approach “is practiced by (at least)

a recognized minority of scientists in [his] field.” Lust ex rel. Lust v. Merrell Dow

Pharms., Inc., 89 F.3d 594, 597 (9th Cir. 1996) (quotation marks omitted). A

methodology “based on implausible assumptions,” Tyson Foods, 577 U.S. at 459, or

“connected to existing data only by the ipse dixit of the expert,” Gen. Elec. Co. v.

Joiner, 522 U.S. 136, 146 (1997), will not suffice, see United States v. Hermanek,

289 F.3d 1076, 1093-94 (9th Cir. 2002).

      Dr. Singer’s model flunks these standards.            As the District Court

acknowledged, Dr. Singer’s methodology, developed solely for this case, is neither

“generally accepted” nor the “subject of peer review.” 1-ER-13. And not a single

other economist has used a logit model in the way Dr. Singer uses his model here.

See 2-ER-90. Dr. Singer agrees that a logit model works only where products are

substitutes—which Dr. Singer admitted is not true here. Dr. Singer’s failure to

account for competitive conditions and focal-point pricing renders his model

incapable of yielding “reliable conclusions,” and his model should have been

excluded on that ground as other courts have done. See In re Apple, 2022 WL

1284104, at *8 (“Having failed to use or address the issue, the model does not

provide a reliable method for determining but-for pricing in the presence of focal

pricing.”); In re Lithium Ion Batteries, 2018 WL 1156797, at *3-5 (excluding




                                          53
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 65 of 74




testimony where expert “offer[ed] no reliable method for proving pass-through in

the presence of focal point pricing”).

      Ignoring these flaws, the District Court parroted Dr. Singer’s statement that

he could not use “the more traditional approach of a regression analysis.” 1-ER-13.

That an expert says he cannot show common injury through a regression analysis

does not justify using a different methodology that is also unreliable under the

circumstances. Nor is Dr. Singer’s model saved by the fact that his “overall

approach” incorporated the accepted Rochet-Tirole and Landes-Posner models to

calculate Google’s but-for service fees. 1-ER-12-13. As Dr. Singer admitted, the

Rochet-Tirole and Landes-Posner models do not say anything about pass-through

and do nothing on their own to establish any consumer injury. 2-ER-152. To make

that showing, Dr. Singer used his logit model, which is unreliable. Thus even if the

Rochet-Tirole and Landes-Posner models are reliable in theory, their reliability

depends on accurate inputs. And here the average pass-through rate generated by

Dr. Singer’s logit model is one of those inputs. Because that input is unreliable, the

output of these other models is unreliable as well.

      The District Court disregarded Google’s substantive objections to Dr.

Singer’s model on the ground that these arguments were “mainly” directed at

“commonality and predominance.” 1-ER-14. That is incorrect. Google cited Dr.

Singer’s failure to account for competitive conditions and focal-point pricing both



                                         54
        Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 66 of 74




in opposing class certification and in seeking to exclude Dr. Singer’s model under

Rule 702.    2-ER-195-196; 2-ER-165-166; 2-ER-239-240.           Dr. Burtis was not

required to invoke Rule 702 explicitly when testifying about these shortcomings at

the concurrent expert proceeding. And by faulting Google for failing to demonstrate

Dr. Singer’s shortcomings, 1-ER-14, the District Court once again erroneously

flipped the burden of proof. See Lust ex rel. Lust, 89 F.3d at 598 (expert’s proponent

must prove admissibility in the first instance).

       “[D]istrict courts do not have discretion to abandon the gatekeeping function”

under Rule 702. United States v. Ruvalcaba-Garcia, 923 F.3d 1183, 1189 (9th Cir.

2019) (per curiam) (quotation marks omitted). That is precisely what happened here.

The Court should reverse the District Court’s decision to admit Dr. Singer’s novel

and unsupported pass-through model.

III.   THE DISTRICT COURT ERRED IN CONCLUDING THAT
       INDIVIDUALIZED DAMAGES ISSUES CANNOT DEFEAT
       PREDOMINANCE.

       The District Court acknowledged that this case presents “individualized

questions” with respect to “damages” but declined to evaluate those questions or

explain how they could be addressed on a classwide basis in a 21-million-plaintiff

trial. 1-ER-28. Instead, the District Court understood this Court to apply a bright-

line rule that the presence of individualized damages questions “cannot, by itself,

defeat class certification.” 1-ER-25 (quoting Leyva v. Medline Indus. Inc., 716 F.3d



                                          55
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 67 of 74




510, 514 (9th Cir. 2013)). That was legal error. The text of Rule 23, the Supreme

Court’s decision in Comcast, and this Court’s recent applications of Comcast all

underscore that individualized damages questions can defeat predominance.

      The plain text of Rule 23(b)(3) makes clear that “questions of law or fact

common to class members” must “predominate over any questions affecting only

individual members”—including damages questions. Fed. R. Civ. P. 23(b)(3)

(emphasis added). And in Comcast, the Supreme Court confirmed that plaintiffs

“cannot show Rule 23(b)(3) predominance” without establishing “that damages are

capable of measurement on a classwide basis.” Comcast, 569 U.S. at 34. There,

plaintiffs’ damages model did “not even attempt” to measure damages stemming

from plaintiffs’ injury, and thus could not “possibly establish that damages are

susceptible of measurement across the entire class for purposes of Rule 23(b)(3).”

Id. at 35. The Supreme Court held that Rule 23’s requirements were not met because

“[q]uestions of individual damage calculations” would “inevitably overwhelm

questions common to the class.” Id. at 34.

      This Court’s applications of Comcast confirm that individualized damages

issues, just like any other individualized issue, can preclude certification. Rule

23(b)(3) requires “that the district court determine after rigorous analysis whether

the common question predominates … , including [over] individualized questions

about injury or entitlement to damages.” Olean, 31 F.4th at 669 (emphasis added).



                                        56
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 68 of 74




Thus, a “Rule 23(b)(3) plaintiff must show a class wide method for damages

calculations as a part of the assessment of whether common questions predominate

over individual questions.” Lambert v. Nutraceutical Corp., 870 F.3d 1170, 1182

(9th Cir. 2017) (emphasis added), rev’d on other grounds, 139 S. Ct. 710 (2019).

      More recently, a panel of this Court unanimously reversed class certification

on the ground that “any common question as to misclassification is outweighed by

the individual questions going to injury and damages.” Bowerman v. Field Asset

Servs., Inc., 60 F.4th 459, 469 (9th Cir. 2023) (emphasis added). Plaintiffs thus must

show that individual damages can be calculated “feasibly and efficiently,” Leyva,

716 F.3d at 514, such as through “common evidence,” Bowerman, 60 F.4th at 470,

for certification to be warranted.

      The District Court’s bright-line rule that individualized damages calculations

can never defeat class certification rests on a basic misreading of this Court’s

precedent. The District Court cited this Court’s statement that “damage calculations

alone cannot defeat certification.” Yokoyama v. Midland Nat’l Life Ins. Co., 594

F.3d 1087, 1094 (9th Cir. 2010); Leyva, 716 F.3d at 513 (same). But this means that

the need to calculate individual damages does not preclude certification, if there is

a common—and efficient—method for performing that calculation. See Doyle v.

Chrysler Grp., LLC, 663 F. App’x 576, 579 (9th Cir. 2016) (individual damages

calculations cannot defeat certification “in cases where there existed a common



                                         57
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 69 of 74




methodology for calculating damages”). This Court has thus explained that “[t]he

amount of damages is invariably an individual question and does not defeat class

action treatment.” Yokoyama, 594 F.3d at 1094 (emphasis added) (quoting Blackie

v. Barrack, 524 F.2d 891, 905 (9th Cir. 1975)); Leyva, 716 F.3d at 514 (same). This

Court has not, however, created an exception to Rule 23’s predominance

requirement that applies only to the issue of damages.

      In Levya, for example, the Court concluded that plaintiffs satisfied the

predominance requirement notwithstanding that each plaintiff would be entitled to a

different amount of damages, because “damages could feasibly and efficiently be

calculated once the common liability questions are adjudicated.” 716 F.3d at 514.

In Yokoyama, the Court similarly held that class certification was proper because

“the damages calculation” would not require “highly individualized and fact-specific

determinations.”   594 F.3d at 1093-94.       In Blackie, the Court reasoned that

individualized damages calculations did not defeat certification because “the process

of computing individual damages [would] be virtually a mechanical task.” 524 F.2d

at 905. And in Olean, the Court noted that “a district court is not precluded from

certifying a class even if plaintiffs may have to prove individualized damages at

trial,” where that conclusion is “based on the determination that such individualized

issues do not predominate over common ones.” 31 F.4th at 668-669.




                                         58
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 70 of 74




      This Court’s decision in Bowerman illustrates that point. There, the district

court had initially certified a class after plaintiffs’ expert assured the court “that

individualized injury and damages assessments would not be prohibitively

cumbersome.” 60 F.4th at 464-465, 469. Plaintiffs later withdrew their expert after

the court raised questions about the reliability of his model, and were thus “left

relying on individual testimony to establish the existence of an injury and the amount

of damages.” Id. at 469. This would not necessarily doom the class, “so long as

common questions continued to predominate.” Id. But this Court held they did not:

The damages phase would be “far messier” than originally promised, testimony of

many of the 156 individual vendors would be necessary, and this would result in a

series of “individualized mini-trials.” Id. at 469-470 (quotation marks omitted).

These mini-trials differentiated Bowerman from other cases where plaintiffs relied

on “common evidence” of damages. Id. at 470. “In light of the complexity of the

individualized questions” about who was injured and whether they suffered

damages, this Court held that individual issues predominated. Id. at 471; see 1

McLaughlin on Class Actions § 5:45 (19th ed. 2022 update) (where “proof of

individual class members’ damages is so different as to require individualized mini-

trials (or other similar proceedings), courts have repeatedly denied certification for

lack of both predominance and manageability.”).




                                         59
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 71 of 74




      This Court should thus reverse the District Court’s ruling that individualized

damages calculations can never preclude class certification. Because the District

Court did not evaluate whether the individualized damages issues present here

prevent certification, if this Court finds for Google solely on the issue of damages,

the Court should remand to the District Court to determine whether individualized

issues with respect to damages prevent class certification.

      As Google has explained, Dr. Singer’s model cannot demonstrate common

injury to any plaintiff, because it fails to account for the reasons—such as focal-point

pricing and the fact that apps in the same category are not substitutes—that mean a

consumer is uninjured. For the same reasons, this model also cannot be used as a

common method for calculating damages. Dr. Singer’s model does not calculate the

amount that any individual developer would have decreased its prices for any

individual consumer, which means that establishing damages would require an

individualized method for calculating damages for each class member. And because

the putative class comprises 21 million individuals who made purchases from over

270,000 different apps, these individualized inquiries would be utterly unworkable,

cumbersome, and inefficient—requiring plaintiff-by-plaintiff mini-trials at a scale

that is unprecedented in federal court litigation and utterly overwhelming common

issues. The Court should reverse the class certification order for this reason, too.




                                          60
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 72 of 74




                                 CONCLUSION

      For the foregoing reasons, the District Court’s class certification order

should be reversed.

                                              Respectfully submitted,

June 8, 2023                                  /s/ Neal Kumar Katyal

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                                         61
       Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 73 of 74




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          Case: 23-15285, 06/08/2023, ID: 12732162, DktEntry: 20, Page 74 of 74




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         I certify that on June 8, 2023, the foregoing was electronically filed through

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